        Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 1 of 23




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


    DONNA CURLING, et al.,

                     Plaintiffs,

         v.                                  Case No. 1:17-cv-02989-AT

    BRAD RAFFENSPERGER, et al.,

                     Defendants.


      MY PILLOW, INC. AND MICHAEL LINDELL’S MEMORANDUM
    IN SUPPORT OF MOTION TO INTERVENE FOR LIMITED PURPOSE

        My Pillow, Inc. and Michael Lindell (together, the “MyPillow parties”)

respectfully move pursuant to Fed. R. Civ. P. 24 to intervene in this action for the

limited purpose of obtaining access to the report of J. Alex Halderman, Ph.D. filed

on July 12, 2021 under seal as ECF no. 1130-1 (“Halderman Report”) and other

documents related to Dr. Halderman filed under seal.1 The MyPillow parties have

been sued in the U.S. District Court for the District of Columbia by U.S. Dominion,

Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation

(collectively, “Dominion”) alleging that the MyPillow parties defamed Dominion



1
 Other documents related to Dr. Halderman presently under seal include ECF nos.
487-1, 487-3, 498, 508-1, 510, 597-1, 855-1, 908-1, 909-1, 910-1, 911-1, 1068,
1108-1, 1156-1, -2, -3, -4, -5.

                                         1
        Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 2 of 23




regarding statements that Dominion’s voting machines were hacked in the

November 2020 election. The Halderman Report and other documents related to Dr.

Halderman contain important information that relates directly to the defense of

Dominion’s claims. Indeed, Dr. Halderman stated in his July 13, 2021, Declaration

that:

        I have been attempting since January, through Plaintiffs’ counsel, to
        meet with Dominion to confidentially discuss the vulnerabilities in my
        report. However, Dominion has yet to agree to meet. It would be
        dangerous to provide Dominion with the complete report if it were
        then disclosed through discovery in the company’s various ongoing
        defamation suits to anyone who might misuse it.

Decl. of J. Alex Halderman ¶ 8, ECF no. 1133 (July 13, 2021) (emphasis added).

        Dominion’s self-serving objections to intervention (which were interposed in

response to parallel intervention motions filed by other parties, see ECF nos. 1285,

1311, and which will undoubtedly be interposed in response to this motion) provide

no proper basis to exclude the MyPillow parties. Dominion, a self-interested actor,

objects to intervention merely because Dominion does anything it can to obstruct

access to evidence that might undermine Dominion’s position in Dominion’s

numerous lawsuits. Per Dr. Halderman’s statement quoted above, Dominion’s

obstruction even extends to Dr. Halderman’s entreaties to discuss “critical

vulnerabilities” in Dominion’s voting machines that “nefarious actors” can use “to

steal votes” in at least sixteen states. Decl. of J. Alex Halderman ¶¶ 2-3, 5, 8, ECF

no. 1177-1 (Sept. 21, 2021) (“Sept. 21, 2021, Halderman Decl.”). However, no
                                          2
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 3 of 23




proper reason exists to bar the MyPillow parties from obtaining this evidence subject

to the Court’s confidentiality order.

                              I.     INTRODUCTION

      Federal Rule of Civil Procedure 24(a)(2) grants the right to intervene in an

action to “anyone” who “claims an interest relating to the property or transaction

that is the subject of the action, and is so situated that disposing of the action may as

a practical matter impair or impede the movant’s ability to protect its interest, unless

existing parties adequately represent that interest.”        Rule 24(b)(1)(B) permits

intervention by “anyone” who “has a claim or defense that shares with the main

action a common question of law or fact.” As the Court’s Order of January 10, 2022,

explained, Rule 24(b)(1) has been broadly interpreted to permit intervenors to

request access to documents subject to confidentiality orders. Order at 2-3, ECF no.

1249 (Jan. 10, 2022). The MyPillow parties should be allowed to intervene pursuant

to each of these avenues.

      The MyPillow parties seek to intervene merely to obtain access to documents

subject to a confidentiality order. The thrust of Rule 24 is to prevent intervention in

an action if intervention would “unduly delay or prejudice the adjudication of the

original parties’ rights.” Fed. R. Civ. P. 24(b)(3); id. R. 24(c) (“pleading that sets out

the claim or defense for which intervention is sought”). The MyPillow parties do

not seek in any way to delay or affect the adjudication of the claims and defenses


                                            3
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 4 of 23




between the original parties. They merely seek to obtain access to documents subject

to a confidentiality order.    The delay/prejudice concerns of Rule 24 have no

significance with respect to that objective, as the case law cited by the Court

implicitly recognizes. Order at 2-3, ECF no. 1249; see United Nuclear Corp. v.

Cranford Ins. Co., 905 F.2d 1424, 1427 (10th Cir. 1990) (“The most important

circumstance in this case is that intervention was not on the merits, but for the sole

purpose of challenging a protective order.”). Rather, when a party seeks to intervene

for the purpose of obtaining access to documents that are sealed, the relevant

considerations are whether the party’s interest in obtaining access to public records

is outweighed by a situation-specific compelling government interest. See Order at

4-5 ECF no. 1249; Romero v. Drummond Co., 480 F.3d 1234, 1246 (11th Cir. 2007).

      The MyPillow parties claim an interest relating to the transaction that is the

subject of this action, and the Court’s disposition of this action may impair or

impede the MyPillow parties’ ability to protect its interests. No existing party to this

action represents the interests of the MyPillow parties. The “transaction” that is the

subject of this action is the electronic voting machines manufactured, distributed,

and supported by Dominion – specifically, the vulnerability of those machines to

intrusion, manipulation, or fraud. Third Am. Compl., ECF no. 627 ¶¶ 2, 4, 5, 7, 11,

28, 34, 39, 46-47, 52, 62, 65-66, 72, 76-89 (Oct. 15, 2019). The MyPillow parties

have been sued by Dominion for defamation based on statements made by Michael

                                           4
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 5 of 23




Lindell about the vulnerability of Dominion’s electronic voting machines to

intrusion, manipulation, and fraud. Compl. ¶¶ 62, 98, 165(x), ECF no. 1, Dominion

v. My Pillow, Inc., no. 1:21-cv-00445-CJN (D.D.C. Feb. 22, 2021). The Halderman

Report strongly supports the conclusion that Dominion’s electronic voting machines

are vulnerable to intrusion, manipulation, and fraud. “My July 1, 2021, expert report

describes numerous security vulnerabilities in Georgia’s Dominion ICX BMDs.

These include flaws that would allow attackers to install malicious software on the

ICX . . . . They are not general weaknesses or theoretical problems, rather specific

flaws in the ICX software, and I am prepared to demonstrate proof-of-concept

malware that can exploit them to steal votes.” Sept. 21, 2021, Halderman Decl. at ¶

2. Dr. Halderman’s other declarations and testimony in this action additionally

provide evidence about the vulnerability of Dominion’s machines:

          • “As I have already testified, malicious modifications to the BMDs’

             software could undermine the integrity of election results in multiple

             ways, including by changing either the barcodes alone or both the

             barcodes and the human readable text, with the result that election

             outcomes could be changed without detection.” Decl. of J. Alex

             Halderman ¶ 7, ECF no. 923-1 (Sept. 29, 2020).

          • “My previous declaration cites the results of penetration tests

             commissioned by the California Secretary of State, which found that

                                         5
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 6 of 23




              attackers could modify the Dominion software installation files and ‘it

              would be possible to inject more lethal payloads into the installers’,

              that the anti-virus software was insufficient or non-existent, and that

              the BMDs had vulnerabilities that ‘would be open to a variety of actors

              including a voter, a poll worker, an election official insider, and a

              vendor insider,’ among other problems.” Decl. of J. Alex Halderman

              ¶ 13, ECF no. 885-1 (Sept. 9, 2020).

      However, Dominion’s litigation strategy apparently seeks to bar the

defendants it has sued in the District of Columbia and other jurisdictions from access

to this probative evidence by bandying the defendants back and forth between

different courts, arguing to each court that the defendants must not ask it, but another

court, to obtain the evidence. See Dom. Obj. to Fox Mot. to Interv. at 4-5, ECF no.

1285 (Jan. 26, 2022). Dominion’s litigation strategy is calculated to advance its own

interests, but burying evidence in an artificially-created lacuna between different

courts does not promote the ascertainment of the truth. If every court presented with

the question of ordering access to the evidence in the Halderman Report defers

responsibility for answering the question elsewhere, the right of the MyPillow

parties to protect themselves from Dominion’s baseless defamation actions will be




                                           6
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 7 of 23




greatly impaired. There is no other way to obtain this evidence 2 absent this Court

permitting the MyPillow parties access to it.

      The Court’s prior Order, ECF no. 1249 (Jan. 10, 2022), raised concerns about

further dissemination of the report and proposed that a prospective intervenor could

simply hire Dr. Halderman as its own expert as a “less onerous alternative.”

However, hiring Dr. Halderman to re-create substantially the same report would

defeat the Court’s concern to maintain control over the sensitive information that Dr.

Halderman was given access to, in order to create his original report, and would

arguably run afoul of the Court’s existing confidentiality order. Allowing the

MyPillow parties to intervene to receive access to the original report subject to the

Court’s confidentiality order best protects the information at issue.

       This Court should acknowledge the MyPillow parties’ entitlement to obtain

evidence to defend themselves and allow intervention as of right under Rule

24(a)(2), because no other party to this action has any connection with the MyPillow

parties that would represent their interests, and there is simply no other viable way

to obtain this evidence if Dominion objects to production in the defamation action.




2
 The My Pillow parties have requested the report in discovery, but in an abundance
of caution and to ensure timeliness of this Motion as well as to preserve judicial
economy, they seek intervention as it is anticipated that Dominion will object to and
refuse production of the report based on this Court’s confidentiality order.
                                          7
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 8 of 23




Failure to allow the MyPillow parties access to these judicial records would result

in extreme prejudice to the MyPillow parties.

      The MyPillow parties have a claim or defense that they share with the main

action, a common question of law or fact. For the same reasons set forth above, the

MyPillow parties have a defense that shares a common question of fact with the

claims and defenses in this action – the vulnerability of Dominion’s machines to

intrusion, manipulation, and fraud. The Halderman Report is a document in a public

dispute which the MyPillow parties would be entitled to obtain without even

providing a reason, if the Report were not subject to the Court’s confidentiality order.

The confidentiality order injects an additional consideration into the equation – does

MyPillow have an interest in obtaining the evidence that outweighs the interest

protected by the seal?      But that additional consideration is not, contrary to

Dominion’s self-serving arguments, a discovery question in this case. It is a public

access question, and it must be answered by weighing evidentiary interests against

confidentiality interests, without obfuscating these decisive questions by allusions

to discovery disputes in other courts. The language of Rule 24(b)(1)(B) does not

condition intervention on discovery considerations in other courts.

           II. THE MYPILLOW PARTIES HAVE A STRONG
         INTEREST IN ACCESSING THE HALDERMAN REPORT.

      The Halderman Report, and the other documents in this dispute related to Dr.

Halderman, contain evidence genuinely probative of important issues in the
                                           8
       Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 9 of 23




defamation lawsuit that the MyPillow parties have been forced to defend. Because

this evidence is probative and important, the MyPillow parties have a strong interest

in obtaining it. The MyPillow parties should be allowed to access, and use, the

Halderman Report and other declarations by Dr. Halderman on the same terms as

the parties to this action.3

       Dominion brought defamation claims against the MyPillow parties,

demanding more than $1.3 billion in damages. Compl., ECF no. 1, Dominion v. My

Pillow, Inc., no. 1:21-cv-00445-CJN (D.D.C. Feb. 22, 2021). Defamation claims

brought by public figures are scrutinized closely, because of the threat they pose to

First Amendment free speech rights. See, e.g., Air Wis. Airlines Corp. v. Hoeper,

571 U.S. 237, 247 (2014) (citing New York Times v. Sullivan, 376 U.S. 254 (1964)).

Accordingly, defamation defendants in such cases, including the MyPillow parties

here, must have ready access to evidence that supports their defenses of their speech.

By the same measure, defamation plaintiffs in such cases, including Dominion here,

cannot be heard to complain when the defendants seek to gather relevant evidence

as the plaintiff “opened that door” when it filed its lawsuit. Condit v. Dunne, 225

F.R.D. 100, 111 (S.D.N.Y. 2004).


3
 There appears to be evidence before this Court submitted by another proposed
Intervenor that counsel for Dominion, although a non-party, already has a copy of
the unredacted report. See Exhibit 1 to Fox News Network’s Reply Memorandum
In Support of Motion to Intervene for Limited Purpose and Request for Oral
Argument, Dkt. No. 1310-1.
                                         9
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 10 of 23




      Dominion bases its defamation claims on statements by Michael Lindell that

characterized Dominion’s voting machines as corrupted, unreliable, manipulated by

foreign powers, or otherwise inaccurate. Compl. ¶¶ 62, 98, 129, 165(x), ECF no. 1,

Dominion v. My Pillow, Inc., no. 1:21-cv-00445-CJN (D.D.C. Feb. 22, 2021). The

sealed Halderman Report concluded after extensive analysis that a Dominion voting

system has “numerous security vulnerabilities” that are “specific flaws . . . that can

[be] exploited to steal votes.” Sept. 21, 2021, Halderman Decl. ¶ 2. Further, the

identified security flaws suggest the existence of additional, “equally critical flaws

that are yet to be discovered.” Id. ¶ 4. The Halderman Report plainly contains

information and evidence relevant to the contested issue of the truth of Lindell’s

statements about Dominion’s voting machines. The MyPillow parties, and the

District of Columbia federal district court, have an obvious interest in obtaining this

evidence – the same interest in obtaining and using this evidence as the parties before

the Court in this action. “The Supreme Court has long held that ‘the public . . . has

a right to every man’s evidence.” Jones v. City of Coll. Park, 237 F.R.D. 517, 519

(N.D. Ga. 2006) (quoting Trammel v. United States, 445 U.S. 40, 50 (1980)).

           III. NO COMPELLING GOVERNMENT INTEREST
             JUSTIFIES DENYING THE MYPILLOW PARTIES
                ACCESS TO THE HALDERMAN REPORT.

      The overarching principle concerning access to court filings is a presumption

of public access. “Once a matter is brought before a court for resolution, it is no


                                          10
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 11 of 23




longer solely the parties’ case, but also the public’s case. Absent a showing of

extraordinary circumstances . . . the court file must remain accessible to the public.”

Brown v. Advantage Eng’g, Inc., 960 F.2d 1013, 1016 (11th Cir. 1992). In Brown,

the Eleventh Circuit reversed a district court and held that a non-party was entitled

to obtain access to a settlement agreement that had been filed under seal because the

non-party sought to use admissions it believed the settlement agreement contained

as evidence in an unrelated action. 960 F.2d at 1015-16. “Simply showing that the

information would harm the company’s reputation is not sufficient to overcome the

strong common law presumption in favor of public access.” Wilson v. American

Motors Corp., 759 F.2d 1568, 1570-71 (11th Cir. 1985) (internal citation and

quotations omitted).

      Where access to court filings is limited, denial must be both “necessitated by

a compelling governmental interest” and “narrowly tailored to that interest.” Brown,

960 F.2d at 1015-16 (quoting Wilson, 759 F.2d at 1571). For purposes of this motion,

the MyPillow parties do not challenge the conclusion that a “compelling

governmental interest” supports keeping the complete, unredacted Halderman

Report out of the hands of the general public, at least at present. However, that

compelling governmental interest can be accommodated while also accommodating

the MyPillow parties’ evidentiary interest in the Halderman Report by narrowly

tailoring the confidentiality restrictions in two ways.

                                          11
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 12 of 23




      First, the Court should permit the MyPillow parties unrestricted access to, and

use of, a redacted version of the Halderman Report, in which any information that

would assist a hacker in compromising Dominion electronic election equipment is

excised. In the absence of such information, no compelling governmental interest

exists to support continued sealing of the document, and the Court’s order sealing

the document loses all justification. “If access to protected [material] can be granted

without harm to legitimate secrecy interests, or if no such interests exist, continued

judicial protection cannot be justified. In that case, access should be granted even if

the need for the protected materials is minimal.” Pansy v. Borough of Stroudsburg,

23 F.3d 772, 790 (3d Cir. 1994). Dr. Halderman has offered to provide an abridged

version of the report that removes any “specific details” that are “dangerous.” Decl.

of J. Alex Halderman ¶ 7, ECF no. 1133 (July 13, 2021). Further, the State of

Georgia agrees that the Halderman Report should be made public. See Georgia Sec.

of State, Secretary Raffensperger Calls on J. Alex Halderman to Agree to Release

“Secret Report” and Pre-Election Testimony (Jan. 27, 2022).4 Thus, at least one of

the actual parties to this action agrees that the report can in large part be made public.

The Secretary of State has the highest compelling governmental interest in

protecting this information, yet even he agrees it should be released. This Court



4
    Available   at    https://sos.ga.gov/news/secretary-raffensperger-calls-j-alex-
halderman-agree-release-secret-report-and-pre-election.
                                        12
     Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 13 of 23




should not stand in the way of the Defendant’s agreement to release a redacted

version of the document.

      Second, the Court should allow the MyPillow parties to obtain access to the

unredacted Halderman Report subject to the same limitations of the confidentiality

order applicable to the parties in this action.    Federal courts have frequently

permitted non-party access to confidentially-filed docket items where the non-party

agreed to be bound by, and comply with, the court’s confidentiality order. For

example, in EEOC v. Nat’l Children’s Ctr., 146 F.3d 1042 (D.C. Cir. 1998) the D.C.

Circuit reversed a district court’s denial of non-party’s motion seeking access to

confidential docket item, where “three [other] intervenors” had previously been

allowed access “subject to a protective order that prohibited their public

dissemination.” 146 F.3d at 1048. As a general matter, for “collateral litigants”

seeking access to sealed materials a court “need not balance prejudice against

secrecy because secrecy can be preserved by subjecting the intervenor to the

provisions of a protective order,” and “[w]hen this is the case access should be

granted ‘even if the need for the protected materials is minimal.’” In re Linerboard

Antitrust Litig., 333 F. Supp. 2d 333, 339-40 (E.D. Pa. 2004) (quoting Meyer

Goldberg, Inc., of Lorain v. Fisher Foods, Inc., 823 F.2d 159, 163 (6th Cir. 1987)).

The MyPillow parties are willing to submit to the same confidentiality order that




                                        13
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 14 of 23




binds the parties in this action, and to use the unredacted version of the Halderman

Report only in compliance with that confidentiality order.

                    IV.    THE MYPILLOW PARTIES MEET
                          THE ELEMENTS OF RULE 24.

      A non-party may intervene under Fed. R. Civ. P. 24 in an action for the

purpose of obtaining materials filed confidentially in that action. In re Alexander

Grant & Co. Litig., 820 F.2d 352, 354 (11th Cir. 1987) (“[A]ppellants have standing

to intervene in this action and challenge the propriety of the district court’s protective

order.”); Flynt v. Lombardi, 782 F.3d 963, 967 (8th Cir. 2015); In re Midland Nat.

Life Ins. Co. Annuity Sales Pracs. Litig., 686 F.3d 1115, 1120 (9th Cir. 2012); Newby

v. Enron Corp., 443 F.3d 416, 424 (5th Cir. 2006); Nat’l Children’s Ctr., 146 F.3d

at 1045; Pansy, 23 F.3d at 778.

      The MyPillow parties meet the requirements of Rule 24 both to intervene on

a permissive basis (Rule 24(b)) and also to intervene as of right (Rule 24(a)).

      A. The MyPillow Parties May Intervene Permissively for the Limited
         Purpose of Obtaining Access to the Halderman Report.
      Courts undertake a two-step inquiry in determining whether permissive

intervention under Rule 24(b) is proper. Comm’r, Alabama Dep’t of Corr. v.

Advance Local Media, LLC, 918 F.3d 1161, 1171 (11th Cir. 2019). First, the

intervenor must have “a claim or defense that shares with the main action a common

question of law or fact.” Id. (quoting Fed. R. Civ. P. 24(b)(1)(B)). Second, the court


                                           14
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 15 of 23




“must exercise discretion and consider whether the intervention will ‘unduly delay

or prejudice the adjudication of the original parties’ rights.’” Id. (quoting Fed. R.

Civ. P. 24(b)(3)); accord Georgia Aquarium, Inc. v. Pritzker, 309 F.R.D. 680, 690

(N.D. Ga. 2014).

      On the first step, the MyPillow parties plainly hold a claim or defense that

shares with this action common questions of fact. When a party seeks to intervene

only for the limited purpose of obtaining access to sealed judicial records, there need

not be a “strong nexus of fact or law” to the issues in the original case. Advance Loc.

Media, 918 F.3d at 1173 n.12 (quoting Flynt, 782 F.3d at 967); Jessup v. Luther, 227

F.3d 993, 997-99 (7th Cir. 2000); Pansy, 23 F.3d at 778; In re Estelle, 516 F.2d 480,

485 (5th Cir. 1975). There is no requirement that the two actions involve “the same

legal theory” when “intervenors are not becoming parties to the litigation.” Nat’l

Children’s Ctr., 146 F.3d at 1048 (quoting Beckman Indus., Inc. v. Int’l Ins. Co., 966

F.2d 470, 474 (9th Cir. 1992)). The limited common question of the public’s interest

in the confidentiality of records itself provides an adequate nexus. Advance Loc.

Media, 918 F.3d at 1173 n.12; Flynt, 782 F.3d at 967.

      A key subject of this action is the vulnerability of electronic election

equipment manufactured, supplied, and supported by Dominion to intrusion,

manipulation, and fraud. The Halderman Report is “a 25,000 word document that

is the product of twelve weeks of intensive testing of the Dominion equipment

                                          15
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 16 of 23




provided” to Dr. Halderman for his examination. Decl. of J. Alex Halderman ¶¶ 2,

4, ECF no. 1304-3 (Feb. 3, 2022). It specifically addresses “numerous security

vulnerabilities” in Dominion voting equipment and warns that these “rather specific

flaws” in the software “can [be] exploit[ed] to steal votes.” Sept. 21, 2021,

Halderman Decl. ¶ 2. It indicates that the Dominion voting equipment “is very likely

to contain other, equally critical flaws that are yet to be discovered.” Id. ¶ 4. And it

notes Dominion’s security problems are not limited to the state of Georgia. Id. ¶¶ 5,

8. These same issues are factual matters upon which some of the MyPillow parties’

defenses turn in Dominion’s defamation action in the District of D.C. These issues

bear directly upon the truthfulness, and the reasonability, of the statements by

Lindell that Dominion alleges were defamatory. Accordingly, the MyPillow parties

have defenses that share common questions of fact with this action and with the

subject matter of the Halderman Report, as well as Dr. Halderman’s other

declarations and testimony in this action that the MyPillow parties seek to obtain.

      On the second step of a permissive intervention analysis, it is plain that

intervention by the MyPillow parties will not unduly delay or prejudice the

adjudication of the original parties’ rights. The MyPillow parties do not seek to assert

claims or defenses in this action. They merely seek to obtain a copy of case materials

related to Dr. Halderman.




                                          16
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 17 of 23




      Finally, Rule 24 requires a party seeking intervention to “timely” move for

intervention, but intervention may be “timely filed even if it occurs after a case has

concluded; timeliness depends on the circumstances of each case.” Advance Loc.

Media, 918 F.3d at 1171. Timeliness is of little concern when a party seeks only to

obtain access to documents filed under seal, as with this motion, for the intervention

does not affect or depend upon the procedural stage of the action. “Rule 24(b)’s

timeliness requirement is to prevent prejudice in the adjudication of the rights of the

existing parties, a concern not present when the existing parties have settled their

dispute and intervention is for a collateral purpose.” United Nuclear Corp., 905 F.2d

at 1427 (allowing intervention three years after the case had been settled because

intervention was “for the sole purpose of challenging a protective order”). There is

widespread support for the notion that a “district court may properly consider a

motion for permissive intervention, for the limited purpose of modifying a

confidentiality order, even after the underlying dispute between the original parties

has been resolved.” 6 Moore’s Federal Practice, § 24.23[2] (3d ed. 2004); United

States v. Jefferson Cty., 720 F.3d 1511, 1516 (11th Cir. 1983); accord Marshall v.

Planz, 347 F. Supp. 2d 1198, 1201 (M.D. Ala. 2004) (citing numerous circuits). The

MyPillow parties’ motion to intervene is timely and will not impose any undue

burden on the parties to this action.




                                          17
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 18 of 23




      B. The MyPillow Parties Have a Right to Intervene to Obtain Access to
         the Halderman Report.
      Under Rule 24(a)(2), a non-party may exercise the right to intervene if it

“claims an interest relating to the property or transaction that is the subject of the

action, and is so situated that disposing of the action may as a practical matter impair

or impede the movant’s ability to protect its interest, unless existing parties

adequately represent that interest.” The commonality of interest between this action

and the Dominion lawsuit against the MyPillow parties is set forth above.

      Courts in the Eleventh Circuit liberally construe Rule 24’s “common interest”

requirement, Stallworth v. Monsanto, 558 F.2d 257, 269 (5th Cir. 1977), and “[a]

motion to intervene is the proper procedural device for a non-party to seek access to

court documents which have been placed under seal,” U.S. ex rel. Walker v.

Radiology Reg’l Ctr., P.A., No. 2:00-cv-558-FtM-29, 2007 U.S. Dist. LEXIS 19990,

2007 WL 865563, at *1 (M.D. Fla. Mar. 21, 2007) (emphasis in original). Both the

common law right of access to judicial proceedings, see Chicago Tribune Co. v.

Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001), and unsealing

documents in light of separate litigation involving the same or similarly related

parties, see Marshall v. Planz, Inc., 347 F. Supp. 2d 1198, 1206-1208 (M.D. Ala.

2004) are legitimate and compelling interests.

      The MyPillow parties also satisfy the other requirements of Rule 24(a)(2)

because the MyPillow parties are situated such that the Court’s handling of the
                                          18
        Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 19 of 23




information in the Halderman Report may impair or impede their ability to protect

their interest, and no existing party to this action protects the interests of the

MyPillow parties. If the MyPillow parties seek discovery of the Halderman Report

directly from Dominion, Dominion will likely claim it cannot turn it over because it

is bound by this Court’s confidentiality order. And Dr. Halderman has averred he

will not disclose his report to others while the report remains subject to the Court’s

confidentiality order and that the Court will be the arbiter of if and when the report

is released. Sept. 21, 2021, Halderman Decl. ¶ 10 (“I of course have complied, and

will continue to comply, with all directives from the Court regarding disclosure of

my work in this matter.”); see also Halderman Public Testimony Before the

Louisiana Voting System Commission, Part 3, at 1:10:00 (Dec. 14, 2021) (stating

that this Court will determine whether the Halderman Report will become publicly

available).5

        No party to this action holds any interest that would prompt it to obtain the

Halderman Report for the benefit of the MyPillow parties. The MyPillow parties

must themselves intervene to secure a copy of the report.




5
    Available at https://www.loom.com/share/d784b2995ead4cc69bf596bae3d1ce75.
                                         19
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 20 of 23




            V.   THE MYPILLOW PARTIES WILL COMPLY
            WITH THE COURT’S CONFIDENTIALITY ORDER.

      The MyPillow parties seek access to the Halderman Report and other case

materials related to Dr. Halderman solely for purposes of litigating claims and

defenses against Dominion and another electronic voting machine manufacturer,

Smartmatic,6 that is engaged in similar defamation litigation with the MyPillow

parties. Accordingly, the MyPillow parties do not ask for any exception from the

confidentiality measures imposed by the Court in its confidentiality order, ECF no.

477, except that, rather than limiting their use of the information to this action, they

be authorized to use the confidential information solely to litigate their claims and

defenses concerning Dominion and Smartmatic. The MyPillow parties, as non-

parties, will abide by the confidentiality order and preserve the confidentiality of the

non-public information in the report.

                               VI.    CONCLUSION
      The MyPillow parties respectfully request that the Court enter an order

permitting them to intervene in this action for a limited purpose; granting them

access, subject to the terms of the Court’s confidentiality order, to the Halderman

Report and all other materials related to Dr. Halderman filed in this action; and




6
   “Smartmatic” means, collectively, Smartmatic USA Corp., Smartmatic
International Holding B.V., and SGO Corporation Limited.
                                      20
     Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 21 of 23




granting them unrestricted access to a version of the Halderman Report redacted to

remove any “specific details” that Dr. Halderman deems “dangerous.”

      The undersigned certify that this brief has been prepared in Times New

Roman 14 point font in accordance with LR 5.1.

Dated: March 5, 2022           THE HILBERT LAW FIRM, LLC
                               By: /s/ Kurt R. Hilbert__________
                                  Kurt R. Hilbert
                                  Georgia Bar No. 352877
                                   khilbert@hilbertlaw.com
                                  205 Norcross Street
                                  Roswell, Georgia 30075
                                  (770) 551-9310 (Telephone)
                                  (770) 551-9311 (Facsimile)

                                   Counsel for My Pillow, Inc. and
                                   Michael J. Lindell

                               PARKER DANIELS KIBORT LLC
                                By: /s/ Andrew D. Parker
                                   Andrew D. Parke*
                                   MN Bar No. 195042
                                   parker@parkerdk.com
                                   Joseph A. Pull*
                                   D.C. Bar No. 982468
                                   pull@parkerdk.com
                                   888 Colwell Building
                                   123 N. Third Street
                                   Minneapolis, MN 55401
                                   (612) 355-4100 (Telephone)
                                   (612) 355-4101 (Facsimile)

                               *To Be Admitted Pro Hac Vice

                               Counsel for My Pillow, Inc.

                                       21
Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 22 of 23




                        DANIELS & TREDENNICK PLLC

                        By: /s/ Douglas A. Daniels
                            Douglas A. Daniels*
                            Texas Bar No. 00793579
                            doug.daniels@dtlawyers.com
                            Heath A. Novosad*
                            Texas Bar No. 2407199
                            heath.novosad@dtlawyers.com
                            DANIELS & TREDENNICK PLLC
                            6363 Woodway Dr., Suite 700
                            Houston, TX 77057-1759
                            (713) 917-0024 (Telephone)
                            (713) 917-0026 (Facsimile)
                        *To Be Admitted Pro Hac Vice

                        Counsel for Michael J. Lindell




                                22
      Case 1:17-cv-02989-AT Document 1332-1 Filed 03/05/22 Page 23 of 23




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 DONNA CURLING, et al.,

                      Plaintiffs,

       v.                                 Case No. 1:17-cv-02989-AT

 BRAD RAFFENSPERGER, et al.,

                      Defendants.



                          CERTIFICATE OF SERVICE

      I hereby certify that on March 5, 2022, a copy of the foregoing

MY       PILLLOW,            INC.’S    AND       MICHAEL          LINDELL’S

MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE FOR

LIMITED PURPOSE was electronically filed with the Clerk of Court using the

CM/ECF system, which will automatically send notification of such filing to all

attorneys of record for the parties.      /s/ Kurt R. Hilbert
                                          ________________________
                                          Kurt R. Hilbert
                                          Georgia Bar No. 352877
